     Case 1:25-cv-11048-ADB       Document 126      Filed 06/09/25   Page 1 of 2




                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS

PRESIDENT AND FELLOWS OF
HARVARD COLLEGE,

                    Plaintiff,

      v.

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES;
NATIONAL INSTITUTES OF HEALTH;
ROBERT F. KENNEDY, JR., in his official
capacity as Secretary of the United States
Department of Health and Human Services;
UNITED STATES DEPARTMENT OF
JUSTICE; PAMELA J. BONDI, in her
official capacity as Attorney General of the
United States; UNITED STATES                 Civil Action No. 1:25-cv-11048-ADB
DEPARTMENT OF EDUCATION; LINDA
M. MCMAHON, in her official capacity as
Secretary of the United States Department of
Education; UNITED STATES GENERAL
SERVICES ADMINISTRATION; STEPHEN
EHIKIAN, in his official capacity as Acting
Administrator of the United States General
Services Administration; UNITED STATES
DEPARTMENT OF ENERGY;
CHRISTOPHER A. WRIGHT, in his official
capacity as Secretary of the United States
Department of Energy; UNITED STATES
NATIONAL SCIENCE FOUNDATION;
SETHURAMAN PANCHANATHAN, in his
official capacity as Director of the United
States National Science Foundation; UNITED
STATES DEPARTMENT OF DEFENSE;
PETER B. HEGSETH, in his official capacity
as Secretary of the United States Department
of Defense; NATIONAL AERONAUTICS
AND SPACE ADMINISTRATION; JANET
E. PETRO, in her official capacity as Acting
Administrator of the National Aeronautics
and Space Administration; UNITED STATES
DEPARTMENT OF AGRICULTURE;
BROOKE L. ROLLINS, in her official
       Case 1:25-cv-11048-ADB           Document 126       Filed 06/09/25      Page 2 of 2




 capacity as Secretary of Agriculture;
 UNITED STATES DEPARTMENT OF
 HOUSING AND URBAN
 DEVELOPMENT; and SCOTT TURNER, in
 his official capacity as Secretary of Housing
 and Urban Development,

                          Defendants.


                                  NOTICE OF APPEARANCE

       Please enter the appearance of Lauren Godles Milgroom of Equity Litigation Group LLP,

1 Washington Mall #1307, Boston, MA, 02108, on behalf of proposed amici curiae 12,041

Harvard Alumni in the above-captioned action. Ms. Milgroom certifies that she is admitted to

practice in this Court.



Dated: June 9, 2025                                  Respectfully submitted,

                                                     /s/ Lauren Godles Milgroom
                                                     Lauren Godles Milgroom (BBO No. 698743)
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                                                     Attorney for [Proposed] Amici Curiae
                                                     12,041 Harvard Alumni


                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent electronically

to the registered participants on the Notice of Electronic Filing (NEF) on June 9, 2025.



                                                     /s/ Lauren Godles Milgroom
                                                     Lauren Godles Milgroom (BBO No. 698743)
